Case 1:21-cv-20234-MGC Document 16 Entered on FLSD Docket 02/23/2021 Page 1 of 3

                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       Case No. 21-20234-Civ-COOKE/O’SULLIVAN

  DANIEL GETZ,

         Plaintiff,

  vs.

  UNITED HEALTHCARE SERVICES, INC.,

        Defendant.
  ____________________________________/
                                ORDER REMANDING CASE
         THIS MATTER is before the Court on Plaintiff’s Motion to Remand (ECF No. 8).
  Plaintiff Daniel Getz (“Getz”), on his behalf and on behalf of all others similarly situated,
  brings this putative class action against Defendant United Healthcare Services Inc.
  (“United”), alleging violations of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227
  et seq. (“TCPA”). Originally filed in state court, Defendant removed the action on the basis
  of federal question jurisdiction pursuant to 28 U.S.C. § 1441(a), which permits removal of
  “any civil action brought in a State court of which the district courts of the United States
  have original jurisdiction...” On January 28, 2021, Plaintiff moved this Court to remand the
  matter back to state court, contending that the Court lacks subject matter jurisdiction. See
  ECF No. 8. Defendant opposes the motion to remand. See ECF No. 14. The Court has
  reviewed the Parties’ arguments and the relevant legal authorities.          For the reasons
  explained below, Plaintiff’s Motion to Remand to State Court is GRANTED.
                                        I.       BACKGROUND
         Getz alleges that on September 12, 2020, he received an unsolicited text message
  from United. The text message from United contained some information about the benefits
  of United’s health coverage and invited Getz to request a free quote of United’s insurance
  rates. According to Getz, United utilized an automatic telephone dialing system (“ATDS”)
  to send this unsolicited text message to him within this district, and he never consented to be
  contacted in such manner. Getz further alleges that United has used an ATDS to send
  similar, unsolicited communications to other people within this district, and thus, he seeks

                                                1
Case 1:21-cv-20234-MGC Document 16 Entered on FLSD Docket 02/23/2021 Page 2 of 3

  to represent a class of persons who also received these unsolicited messages from United.
                                     II.       LEGAL STANDARD
         The removing defendant bears the burden of establishing subject matter jurisdiction.
  See Miedema v. Maytag Corp., 450 F.3d 1322, 1327-28 (11th Cir. 2006). The requirements of
  28 U.S.C. §1441 are to be construed strictly, and where removal jurisdiction is doubtful,
  remand is the appropriate course of action. Id. at 1328. While district courts undoubtedly
  have original jurisdiction over all civil actions under federal law pursuant to 28 U.S.C. §
  1331, “[f]ederal subject matter jurisdiction is circumscribed by Article III of the Constitution
  to Cases and Controversies.” Jenkins v. Simply Healthcare Plans, Inc., 2020 U.S. Dist. LEXIS
  147433, *3 (S.D. Fla. Aug 17, 2020). “[S]tanding is an essential and unchanging part of the
  case-or-controversy requirement of Article III.” Id. (internal quotations and citations
  omitted). Consequently, even where original jurisdiction exists, where plaintiff lacks
  standing, federal courts lack subject matter jurisdiction to entertain plaintiff’s action. See
  Salcedo v. Hanna, 936 F.3d 1162, 1166 (11th Cir. 2019) (“Not every right created by
  Congress or defined by an executive agency is automatically enforceable in the federal
  courts.”).
                                        III.         DISCUSSION
         United has failed to carry its burden of establishing that this Court has subject matter
  jurisdiction. In Salcedo, the plaintiff alleged that he had received one unsolicited text
  message, and that the message “caused [him] to waste his time answering or otherwise
  addressing the message. While doing so, both Plaintiff and his cellular phone were
  unavailable for otherwise legitimate pursuits.” 936 F.3d at 1167. There, the Eleventh
  Circuit opined that these allegations were insufficient to satisfy Article III’s requirement that
  plaintiff allege an injury-in-fact. Id. at 1173. While Getz purports to represent a class of
  individuals who have also received unsolicited messages from United, Getz’s personally
  alleged grievance is limited to receiving one single text message from United.                By
  comparison, this injury is markedly less compelling that those asserted in Salcedo, which
  were insufficient. The Court therefore finds that Getz has no standing to maintain this
  lawsuit in federal court because he cannot show an injury-in-fact.
         Much of United’s opposition is devoted to notifying the Court of Getz’s aggressive
  and compulsive forum shopping, and his artful complaint drafting to avoid federal court.
  Getz’s gamesmanship or craftsmanship, however, are not relevant factors in determining
                                                 2
Case 1:21-cv-20234-MGC Document 16 Entered on FLSD Docket 02/23/2021 Page 3 of 3

  whether the Court has subject matter jurisdiction over the action. United also interestingly
  argues that Getz’s inconsistent word usage serves as proof that he received more than one
  text message. Although the Complaint alleges and identifies only one instance of Getz
  being contacted by United, the Complaint often refers to this single message as both text
  messages and one text message. United argues that the portions of the Complaint where
  Getz refers to “text messages” show that he received more than one message, presumably
  moving this case out of Salcedo’s reach. The Court is not convinced. The Complaint
  identifies only one text that was sent to Getz, suggesting that the inconsistent references to
  “messages” is the result of shoddy draftsmanship and nothing else. Moreover, as is now
  well-established, where removal jurisdiction is doubtful, remand is the appropriate course of
  action. See Miedema, 450 F.3d 1322 at 1328. The Court is equally unpersuaded by United’s
  arguments that the conflicting allegations in its Notice of Removal should be sufficient basis
  for finding that the Court has subject matter jurisdiction. See Jenkins, 2020 U.S. Dist.
  LEXIS 147433, *3 (citing Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir. 1994))1
  (“When the plaintiff and defendant clash on the issue of jurisdiction, uncertainties are
  resolved in favor of remand.”).
                                            IV.          CONCLUSION
          As discussed above, it is hereby ORDERED and ADJUDGED that this action is
  REMANDED to Florida state court. All other pending motions are DENIED as moot.
  The Clerk is directed to CLOSE this case.
          DONE and ORDERED in chambers, Miami, Florida, this 22nd day of February
  2021.




  Copies furnished to:
  John J. O’Sullivan, Chief U.S. Magistrate Judge
  Counsel of record

  1
    The Court is likewise unable to entertain this matter under the Class Action Fairness Act (“CAFA”). While
  the requirements of CAFA may be met, it is axiomatic that a class representative must have individual
  standing to raise class claims. Having found that Getz lacks standing, the Court must end its analysis here.
  See A&M Gerber Chiropractic LLC v. Geico Gen. Ins. Co., 925 F.3d 1205, 1210 (11th Cir. 2019).
                                                        3
